14-08227-rdd        Doc 6      Filed 06/03/14       Entered 06/03/14 14:35:52         Main Document
                                                    Pg 1 of 2

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Proposed Counsel for the Debtors,
Debtors in Possession and Plaintiffs

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                         :
                                                               :
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MPM Silicones, LLC, et al. ,                                   :
                                                               :
                           Debtors.                            :
________________________________________ :
                                                               :   Chapter 11
MOMENTIVE PERFORMANCE MATERIALS :
INC., MOMENTIVE PERFORMANCE                                    :   Case No. 14-22503 (RDD)
MATERIALS WORLDWIDE INC.,                                      :   (Jointly Administered)
MOMENTIVE PERFORMANCE MATERIALS :
USA INC., JUNIPER BOND HOLDINGS I LLC, :
JUNIPER BOND HOLDINGS II LLC, JUNIPER :
BOND HOLDINGS III LLC, JUNIPER BOND                            :
HOLDINGS IV LLC, MOMENTIVE                                     :   Adversary Proceeding
PERFORMANCE MATERIALS QUARTZ, INC., :                              No. 14-08227 (RDD)
MPM SILICONES, LLC, MOMENTIVE                                  :
PERFORMANCE MATERIALS SOUTH                                    :
AMERICA INC., MOMENTIVE                                        :
PERFORMANCE MATERIALS CHINA SPV                                :
INC.                                                           :
                                                               :
                          Plaintiffs,                          :
                                                               :
                                                               :
                                                               :
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        The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are Juniper Bond Holdings I LLC (9631), Juniper Bond Holdings II LLC (9692),
        Juniper Bond Holdings III LLC (9765), Juniper Bond Holdings IV LLC (9836), Momentive Performance
        Materials China SPV Inc. (8469), Momentive Performance Materials Holdings Inc. (8246), Momentive
        Performance Materials Inc. (8297), Momentive Performance Materials Quartz, Inc. (9929), Momentive
        Performance Materials South America Inc. (4895), Momentive Performance Materials USA Inc. (8388),
        Momentive Performance Materials Worldwide Inc (8357), and MPM Silicones, LLC (5481).
14-08227-rdd        Doc 6         Filed 06/03/14    Entered 06/03/14 14:35:52                Main Document
                                                    Pg 2 of 2

                             v.                               :
                                                              :
THE BANK OF NEW YORK MELLON TRUST                             :
COMPANY, N.A., solely as Trustee for the MPM                  :
Escrow LLC and MPM Finance Escrow Corp.                       :
8.875% First Priority Senior Secured Notes due                :
2020,                                                         :
                      Defendant.                              :

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          STIPULATION AND ORDER EXTENDING TIME TO ANSWER COMPLAINT

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for the parties to this action, as follows:

        The Bank of New York Mellon Trust Company, N.A.’s time to answer, move,

counterclaim or otherwise respond to the Complaint in this action is extended through and

including June 18, 2014. The parties agree that each expressly reserves all of its defenses and

rights with respect to this action.

Dated: New York, New York.                                         Dated: New York, New York.
       May 21, 2014                                                       May 21, 2014

WILLKIE FARR & GALLAGHER LLP                                       DECHERT LLP



By: /s/ Joseph T. Baio                                             By: /s/ Michael J. Sage
    Joseph T. Baio                                                     Michael J. Sage
    Dan C. Kozusko                                                     Brian E. Greer
                                                                       Mauricio A. España
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                                                                   (212) 698-3500
Proposed Counsel for Debtors,
                                                                   Counsel for Defendant
Debtors in Possession and Plaintiffs
                                                                   The Bank of New York Mellon Trust Company,
                                                                   N.A.

SO ORDERED this 2nd day of June, 2014

_/s/Robert D. Drain__________________
THE HONORABLE ROBERT D. DRAIN
United States Bankruptcy Judge


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